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                   Exhibit 18K
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the OIL RIG                      *       MDL NO. 2179
       "DEEPWATER HORIZON" in the                    *
       GULF OF MEXICO, on                            *
       APRIL 20,2010                                 *       SECTION J
                                                     *
                                                     *
                                                     *       JUDGE BARBIER
                                                     *
                                                MAG.. JUDGE SHUSHAN
******************************************************************************

                          DECLARATION OF JEFFERY 0. ROSE

        I.     I am a Managing Director with Alvarez & Marsal ("A&M'') in the Financial

Industry Advisory Services e FIAS'') practice. I have 30 years of experience providing credit

and risk analysis, financial operations leadership and bank supervision. I hold a Bachelor's

Degree in Commerce from Rice University and currently serve on the Audit Committee of the

Board of Trustees. A&M is a global professional services firm specializing in turnaround and

interim management, perfurmance improvement and business advisory services. A&M delivers

specialist operational, consulting and industry expertise to management and investors seeking to

accelerate performance, overcome challenges and maximize value across the corporate and

investment lifecycles.

       2.      During 1he past 30 years, I have originated and participated in a variety of debt

transactions including commercial, retail, syndicated credit fac.ilities, and managed single bank

credit and treasury management solutions for both private and public companies. I started my

career as a Bank Examiner with the Office of the Comptroller of the Currency ("OCC" ) in 1977,

Following the OCC, l worked for Texas Commerce Bank, now JP Morgan, and served as

President of Texas Commerce Bank - Greenway Plaza in 1984. I worked 10 years for Wells
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Fargo Bank as Regional Vice President Commercial Banking. While at Wells Fargo, I led the

development of commercial middle market, real estate, consumer, and wealth management

projects including analysis of complex commercial and industrial credit relationships with

various risk based products and services. I currently lead the Credit Risk Management Section

of the FJAS practice at A&M. We advise banks with assets up to $50 Billion on credit risk

analysis and regUlatory guidance for policy and procedures. We have helped commercial and

investment banks, private equity investors, boards of dir.e ctors, as well as management teams

identity, value, and manage risk. Appendix A of this declaration contains a more detailed

overview of my qualifi.c ations and professional experience.

                      ASSIGNMENT AND SUMMARY OF OPINIONS

       3.      I have been asked by BP to address Class Counsel's proposed approach to

implementing the Business Economic Loss ("BEL") framework of the Economic and Property

Damages Settlement, with a focus on why cash based accounting methodology is generally not

relied upon to determine the credit worthiness or profitability of a company.

       4.      My opinions are based on over 30 years of professional creclit experience and

review of fmancial information for the purpose of issuing credit and minimizing exposure to

financial institutions. A lender's primary responsibility during ·underwriting is to determine the

borrower' s ability to make the agreed upon payments through detennination of both current and

future profitability. The matching of revenues and expenses is fundamental to the analysis of

financial statements for profitability because profitability cannot be detetmined on a cash basis.

                                ANALYSTS AND DISCUSSION

       5.      Cash basis of accounting at a -point in time may not properly match revenue and

expenses occurring within a given time period. Casb basis accounting operates Hke a checkbook



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recording collections and payments, but it does not record pending liabilities, inventories, or

receivables in the same manner; thus, it may misrepresent the profitability of the borrower. To

make an informed decision on cash based financial infom1ation prudent lmderwriting would

include measuring revenue when earned, matching revenue and variable expenses, and

evaluating comparable periods. This matching is important because it provides a better basis for

assessing the entity's past and future perfom1ance than information solely about cash receipts

and payments during that period. 1 Therefore, lenders most ofte11 wi U not rely ou cash basis profit

and loss statements.

        6.       Len.ding or making other financial decisions with cash based statements is risky

and banks most often require borrowers to convert to accrual based fmancial statements because

profitability can only be shown through financial statements that match revenues with

accompanying expenses. When statements are accrual. based they recognize revenue when
                                                                                                                  2
earned rather than when received and recognize expenses when incurred rather than when paid.

But "[a1report showing cash receipts and cash outlays of an enterprise for a short period cannot

indicate how much of the cash received is return of investment and how much is return on

investment and thus cannot indicate whether or to what extent an enterprise is successful or

unsuccessful. " 3 Cash flow can be monitored through cash based statements but profitability

cannot be monitored through cash based statements because cash based statements fail to

recognize revenues and expenses when incurred. Cash basis fman.cial statements are maintained

for purposes of monitoring a fmn ' s current cash position not for determining profitability.




r Statement of Financial Accounting Concepts No.8, September 2010, Par; OBJ 7
2
  See Financial Accounting Concepts No.6, Elements ofFinancial Statements, Decernber 1985, Par. 146 ("[Thej
matching of costs and revenues is simultaneous or combined recognition of the revenues and expenses that result
directly aud jointly from the same transactions or other events.").
3
  Financial Accounting Concepts No.6, Elements ofFinancial Statements, December 1985, Par. 144.

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       I declare under penalty of petjury that the foregoing is a true and correct statement of my

opinions and analysis.


   Dated: February 18,2013




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                                          APPENDIX A

                                         Jeffery 0. Rose


Alvarez & Marsal                                                                  2008 ~ Current

Mtmagin.g Director

Mr. Rose is Managing Director at Alvarez & Marsal Financial Industry Regulatory Advisory
Services in Houston. He brings more than 30 years of experience in providing credit and risk
analysis, financial operations leadership and bank supervisjon.

Mr. Rose has held leadership roles with Fortune 500 financial institutions, led the growth and
development of several commercial and retail banking divisions through many economic cycles,
identified .risk and made successful recommendations in response to changing market conditions.

During his career, Mr. Rose has assisted start-up companies and large public companies in
developing complex credit strategies. He has originated and participated in syndicated credit
facilities that required large amounts of data coordination and communication among multiple
parties. He has also managed single bank credit and tt'easury management solutions for private
companies and public companies.

In addition, Mr. Rose has led the development of commercial middle market,. real estate,
consumer, and wealth management projects. He has analyzed complex commercial and
industrial credit relationships involving the use of various risk based products and services. He
also o.riginated and managed credit trans~ctions in excess of $1 billion oftotaJ exposure and
brings experience in maintaining adherence to bank and regulatory policy. His banking
responsibilities included: evaluating and approving credit, negotiating with borrowers and legal
counsel, recommending downgrades. and performing risk analysis to preserve capital and
enhance returns. His efforts have led to exceptional growth and excellent returns with minimal
risk.

For over 25 years, A&M has set the standard for working with organizations to tackle complex
business problems, boost operating performance and maximize stakeholder value. Our 1700
professionals cover 32 US markets and 16 foreign countries. We formed the Financial
Institutions Advisory Services practice to support financial institutions. We have successfully
supported fmancial institutions· by providing professional advice and leadership to correct
problem areas, support regulatory compliance, an.d provide direction to steer them 1hrough
troubled times. Client engagements have included public and private financial institutions. Mr.
Rose has lead engagements focused on credit risk management, due diligence, and regulatory
compliance.




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WelJs Fargo Bank                                                                     1998-2008

Regi01zal Vice President of Commercial Ba1zking West Housto11
•   Manages all relationship management activities in a commercial middle market within
    assigned territory of West Houston. Oversees the preparation of relationship plans to ensure
    strong customer focus and retention.
•   Developed an aggressive and strategic business development program for all products and
    services including goals for sales, customer service, cross-selling, credit quality, CRA, risk
    and quality control.
•   Approves credit transactions and exercises sound credit and risk judgment, adhering to Bank
    credit policies, maintaining a satisfactory credit rating. Directs the business of originating
    credit-related products, treasury management products and investment banking/capital
    market products.
•   Successfully manages budget and expenses to assure optimum adherence to budget and
    goals.

Loan Team Manager- South Texas RCBO

Mr. Rose was responsible for a $1 .2B loan portfolio and a team of relationship managers. Duties
included evaluating and approving credit, negotiating with the borrowers, recommending
downgrades, calling on customers and prospects, and editing credit analysis. He was also
responsible for maintaining relationship managers and credit analysts to support current and new
business opportunities.

Risk Asset Review Examiner

Responsible for reviewing commercial loan portfolios and other risk products throughout the
United States for loan quality and adherence to loan policy. The position accessed commercial
banking office management and reviewed procedures to ensure the quality of operations.

Texas Southern University                                                              1997-19,98

Special Assistant to the President

Mr. Rose was recruited by the Chaim1an ofthe Board ofRegents of Texas Southern University
to assist the President with the schools fmancial affairs. This project culminated with the May
28, 1997 approval of $ 10.4 million funding from the State of Texas 751h Legislative Session.


Texas Commerce Bank                                                                    1993-1996

Senior Vice Presitlent Retail Banking

Recruited back to Texas Commerce Bank to lead a strategic initiative designed to make Texas
Commerce Bank the premier fmancial intuition in low to moderate~ income communities. He

                                                 6
•
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    collaborated closely with Robert Mosbacher, Barbara Jordan and Kirbyjon Caldwell in creating
    the organization to meet the bank objective for compliance with the Community Reinvestment
    Act.
        •   Responsible for all operations,_ staffmg, productivity, and strategic planning for 11 of
            Texas Commerce Bank's 56 Houston branches. The branches represented a diverse
            customer base with $1 billion in deposits. Managed a staff of355 people.
        •   Led a strategic initiative to expand the bank market share in low to moderate income
            communities. This effort included opening new branches, developing strategic.
            community alliances and maintaining productive operations.
       •    Directed the construction and the operation of the Texas Commerce Branches: Lyons -
            Lockwood, Riverside~ and South Post Oak.
       •    Lead 12 Texas Commerce branches from last to first in consumer and small business
            loans and new account production.


    Pacific Southwest Bank                                                                  f991-l993

    President -Houston Branch

    Directed the commercial and retail lending for the Houston office of a $1 Billion based Corpus
    Christie holding company


    Team 8ank- Houston                                                                      1989-1 991

    Executive Vice-President

    Responsible for working with acquired branches is accessing the consolidation strategy and
    developed commercial and consumer loan portfolios.

       •    Directed the construction and startup of Team Bank Medical Center;
       •    Provided loans to the. healthcare -industry for practices and equipment


    Texas Commerce Ba11k- Housto11                                                          1980-1989

    Vice President

    Mr. Rose served in several capacities over an 8-Y2 year career with the banlc Responsibilities
    over the years included President and Senior Lender of two member banks. He served as
    President of Texas Commerce Bank-Greenway Plaza during TCB ls unprecedented 63 quarters of
    155% increases in quarterly earnings.

       •    Led the commercia] call program at TCB- Greenway Plaza producing 4.5 calls per week
            per officer and increased loans 15% per year for 5 consecutive years.
       •    Elected President ofTCB- Greenway Plaza at the age of29. During my tenure at the
            bank assets grew from$422 million to $140 million.
                                                     7
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    •   TCB recognized my success at Greenway Plaza by naming me President of then problem
        bank TCB-Chemical in 1987.
    •   Reduced the problem loan exposure from 50% of total loans to 25% and restructured loan
        and business development operations at TCB~Chemical.


US Treasury Department                                                                  1977-1980

National Bank Examiner, Comptroller of Currency

Collaborated in the review of all areas of bank. operations including credit quality, investmentsy
cash control, broker dealer activities, borrowed funds an electronic banking.

                                          EDUCATION


Rice University, .Bachelors of Commerce                                                       1977

School of Commerce
President's Honor Roll


Board Affiliations.

Trustee Emeriti Rice University Board of Trustees. He is Past Chair of the Audit Committee and
is currently an Audit Committee member,

Advisory Board Career & Recovery Resources A United Way Agency

Former National Board Member of the Humane Society of the United States. Served on the
Audit Budget Committee, Pension Committee, Investment Committee (overseeing $1 00 million
endowment fund) and the Humane Equity Fund (founded with Solomon Smith Barney).

Former Association of Rice University Alumni President

Former Board Member of the March of Dimes

Fom1er United Way Team Captain

Volunteer Star of Hope Mission




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                                     APPENDIXB

                                 Documents Relied Upon

Reference Description
Number
    1     Statement of Financial Accounting Concepts No. 8, September 2010, Par. OB 17

    2      Financial Accounting Concepts No.6, Elements of Financial Statements, December
           1985, Par. 144.
    3      Financial Accounting Concepts No.6, Elements of F inancial Statements, December
           1985~ Par. 146.




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